          Case 2:03-cr-00094-MJP           Document 120        Filed 04/20/06      Page 1 of 4




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05                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
06                                      AT SEATTLE

07 UNITED STATES OF AMERICA,              )             CASE NO. CR03-094-MJP
                                          )
08         Plaintiff,                     )
                                          )
09         v.                             )             SUMMARY REPORT OF U.S.
                                          )             MAGISTRATE JUDGE AS TO
10   PAUL ALTON MATTHEWS,                 )             ALLEGED VIOLATIONS
                                          )             OF SUPERVISED RELEASE
11         Defendant.                     )
     ____________________________________ )
12

13          An evidentiary hearing on supervised release revocation in this case was scheduled before

14 me on April 20, 2006. The United States was represented by AUSA Katheryn K. Frierson and

15 the defendant by William T. Hines. The proceedings were digitally recorded.

16          Defendant had been sentenced on or about July 17, 2003 by the Honorable Marsha J.

17 Pechman on a charge of Conspiracy to Possess Stolen Mail and to Produce False Identification

18 Documents Without Lawful Authority, and sentenced to 104 days custody (time served), 3 years

19 supervised release. (Dkt. 68.)

20          The conditions of supervised release included the standard conditions plus the requirements

21 that defendant reside in a community corrections center for up to 3 months subject to locating an

22 appropriate residential situation, participate in a drug treatment and testing program, abstain from

     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -1
          Case 2:03-cr-00094-MJP           Document 120        Filed 04/20/06      Page 2 of 4




01 alcohol, submit to search, provide access to financial information, allow inspection of his personal

02 computer and monitoring of any computer used in his employment, no new credit, do not possess

03 any identification documents in any but his true identity, and pay restitution in the amount of

04 $2,993.00.

05          On April 9, 2004, defendant admitted to violating the conditions of supervised release by

06 committing the crime of driving while license was suspended, failing to notify the probation officer

07 of contact with law enforcement within 72 hours, failing to report to the probation officer as

08 directed, using methamphetamine, failing to report for drug testing as directed, failing to report

09 for drug treatment, and failing to make restitution payments. (Dkt. 77). Defendant was sentenced

10 to serve 60 days in custody, with 33 months supervised release. Defendant was ordered to

11 participate in inpatient drug treatment at Pioneer Center North, reside in a halfway house for up

12 to 4 months, participate in a mental health program and take medications as prescribed. (Dkt. 82.)

13          On June 25, 2004, defendant admitted to violating the conditions of supervised release

14 by failing to report to his probation officer and failing to report to the halfway house. (Dkt. 92.)

15 He was sentenced to 90 days in custody, 30 months supervised release. (Dkt. 96.) Supervised

16 release was modified on January 27, 2006 to require residence in a home confinement program

17 with electronic monitoring for up to 90 days. (Dkt. 106).

18           In an application dated March 23, 2006 (Dkt 113), Supervising U.S. Probation Officer

19 Steven M. McNickle alleged the following violations of the conditions of probation:

20          1.      Failing to participate in the home confinement program by deviating from his

21 approved schedule on March 16 and March 17, 2006 in violation of condition #3 of his home

22 confinement conditions and in violation of a special condition of his supervised release.

     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -2
          Case 2:03-cr-00094-MJP           Document 120          Filed 04/20/06      Page 3 of 4




01          2.      Failing to answer truthfully to all inquiries of the probation officer in violation of

02 standard condition #3.

03          3.      Using methamphetamine on or before March 17, 2006 in violation of standard

04 condition 7.

05          4.      Failing to appear for drug testing on February 23, March 13, and March 16, 2006

06 in violation of special condition 1.

07          5.      Failing to participate as instructed by the U.S. Probation Officer in a program

08 approved by the probation office for treatment of drug dependency in violation of special condition

09 1.

10          6.      Failing to allow the probation officer to monitor the defendant’s use of employment

11 computer in violation of special condition 6.

12          Defendant was advised in full as to those charges and as to his constitutional rights.

13          Defendant admitted alleged violations 1-5 and waived any evidentiary hearing as to

14 whether they occurred. The United States moved to dismiss violation number 6.

15          I therefore recommend the Court find defendant violated his supervised release as alleged

16 in violations 1-5, dismiss violation number 6, and that the Court conduct a hearing limited to the

17 issue of disposition. The next hearing will be set before Judge Pechman.

18          Pending a final determination by the Court, defendant has been detained.

19          DATED this 20th day of April, 2006.

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                                                    A
                                                    Mary Alice Theiler
                                                    United States Magistrate Judge
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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -3
         Case 2:03-cr-00094-MJP   Document 120     Filed 04/20/06   Page 4 of 4




01 cc:    District Judge:         Honorable Marsha J. Pechman
          AUSA:                   Katheryn K. Frierson
          Defendant’s attorney:   William T. Hines
02        Probation officer:      Steven M. McNickle
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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -4
